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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  EMERGENCY PHYSICIANS OF ST.
  CLARE’S, LLC, MERCER BUCKS
  ORTHOPEDICS, PC, and PASCACK
  EMERGENCY SERVICES,                            Civil Action No.
                                                 09-cv-6244-WJM-MF
  On behalf of themselves and all others
  similarly situated,                            Motion Date: April 19, 2010
                                                 Oral Argument Requested
              Plaintiffs,
  v.
                                                 [Filed Electronically]
  PROASSURANCE CORPORATION,
  PROASSURANCE CASUALTY
  COMPANY, and PROASSURANCE
  INDEMNITY COMPANY, INC.,

              Defendants.


       REPLY IN FURTHER SUPPORT OF DEFENDANTS’ MOTION TO
           COMPEL ARBITRATION OR, IN THE ALTERNATIVE,
                     DISMISS THE COMPLAINT


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  Indemnity Company, Inc.
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        Defendants ProAssurance Corporation, ProAssurance Casualty Company,

  and ProAssurance Indemnity Company, Inc. submit this Reply brief in further

  support of their Motion to Compel Arbitration or, alternatively, Dismiss.

  I.    PLAINTIFFS’ CLAIMS ARE DUE TO BE COMPELLED TO
        ARBITRATION.

        A.     PLAINTIFFS CANNOT OVERCOME THE STRONG FEDERAL AND STATE
               POLICIES FAVORING ARBITRATION.

        As the Court is aware, “federal law presumptively favors the enforcement of

  arbitration agreements.” Harris v. Green Tree Fin. Corp., 183 F.3d 173, 178 (3d

  Cir. 1999); see also Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460

  U.S. 1, 24 (1983) (acknowledging the “liberal federal policy favoring arbitration”).

  Similarly, New Jersey’s courts and legislature have clearly endorsed arbitration as

  a means of resolving disputes. See, e.g., N.J. STAT. ANN. § 2A:24-1, et seq.;

  Alamo Rent A Car, Inc. v. Galarza, 703 A.2d 961 (N.J. Super. Ct. App. Div. 1997)

  (recognizing “strong public policy in our state favoring arbitration as a means of

  dispute resolution and requiring a liberal construction of contracts in favor of

  arbitration.”) Thus, when determining both the existence and the scope of the

  Plaintiffs’ arbitration agreements, there is a presumption in favor of arbitrability.

  See, e.g., AT & T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 650

  (1986) (stating that “where the contract contains an arbitration clause, there is a

  presumption of arbitrability”). Moreover, the burden is on Plaintiffs to prove their
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  Consumer Fraud Act (CFA) claims should not be sent to arbitration. Green Tree

  Fin. Corp v. Randolph, 531 U.S. 79, 91 (2000).            Plaintiffs have conceded

  arbitration is necessary as to the proposed national class and fail to carry their

  burden of overcoming the presumption favoring arbitration of their New Jersey

  class claims. 1

         B.     THE ARBITRATION AGREEMENTS AT ISSUE                       ARE     NOT
                UNCONSCIONABLE CONTRACTS OF ADHESION.

         “[T]he essential nature of a contract of adhesion is that it is presented on a

  take-it-or-leave-it basis, commonly in a standardized printed form, without

  opportunity for the adhering party to negotiate except perhaps on a few

  particulars.” E.g., Rudbart v. North Jersey Dist. Water Supply Comm’s, 605 A.2d

  681, 685 (N.J. 1992). To the extent the Court finds the arbitration agreements at

  issue are the product of adhesion, which Defendants contend has not been

  established, the mere fact that a contract is adhesive does not render it

  unenforceable. 2 Id. at 686. Instead, such a finding is the “beginning, not the end,

  of the inquiry.” Id. The Court should also consider the “subject matter of the

         1
           Indeed, Plaintiffs’ Opposition is singularly focused on attacking the
  viability of the arbitration agreements applicable to their New Jersey claims. As
  such, Plaintiffs have implicitly conceded that their national class claims are due to
  be compelled to arbitration.
         2
            Outside of unsupported statements about having few alternatives to the
  liability policies entered into with ProAssurance Casualty, Plaintiffs have failed to
  sufficiently establish that their ProAssurance Casualty policies and the arbitration
  agreements contained therein are contracts of adhesion.
                                            2
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  contract, the parties’ relative bargaining positions, the degree of economic

  compulsion motivating the ‘adhering’ party, and the public interests affected by the

  contract.” Id. at 687. Assuming arguendo that Plaintiffs’ policies are adhesion

  contracts, a review of the Rudbart factors easily establishes that Plaintiffs’

  arbitration agreements are not unconscionable.

              1.     The Subject Matter of the Contract and Public Interests
                     Affected Thereby Do Not Evidence Unconscionability.

        Plaintiffs contend that “important public policy interests involved in

  remedying violations of the CFA, as well as the significant public interests in

  protecting and retaining physicians within New Jersey to serve the public” warrant

  a finding that the arbitration clauses are unconscionable. See Opp. Brief, p. 14.

  Plaintiffs’ argument cannot withstand scrutiny.

        First, the courts of New Jersey have concluded “that claims arising under the

  [CFA] may be heard and resolved through arbitration.” E.g., Gras v. Assoc. First

  Cap. Corp., 786 A.2d 886, 891 (N.J. Super. Ct. App. Div. 2001). Indeed, “[t]here

  is no inherent conflict between arbitration and the underlying purpose of the CFA”

  because, among other things, “plaintiffs can vindicate their statutory rights in the

  arbitration forum.” Id. at 892. Thus, “the public policy interests involved in

  remedying violations of the CFA” provide no support for a finding that the

  Plaintiffs’ arbitration agreements are unconscionable.



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        Second, Plaintiffs’ argument that New Jersey’s interests in protecting and

  retaining physicians essentially voids their arbitration agreements is nonsensical.

  Under Plaintiffs’ reasoning, no malpractice liability policy would ever contain an

  enforceable arbitration agreement. Further, if Plaintiffs’ contention was true, the

  New Jersey legislature or Department of Banking and Insurance would have taken

  steps to eradicate arbitration agreements from professional liability policies—

  something it has not seen fit to do. 3 As such, the mere fact that Plaintiffs’ policies

  cover medical malpractice is irrelevant to an analysis of the arbitration agreements’

  enforceability.

               2.     The Parties’ Relative Bargaining Positions and the Degree
                      of Economic Compulsion Motivating Plaintiffs Have No
                      Effect on the Viability of the Arbitration Agreements.

        Plaintiffs wish to portray themselves as unsophisticated parties negotiating

  policies under circumstances where they were without any other option but to

  accept the terms of the arbitration provisions. In reality, Plaintiffs are three New

  Jersey corporations comprised of highly-educated physicians holding ample

  resources to obtain answers to questions regarding, among other things, the

  “complicated insurance policy language” or the arbitration provisions existing



        3
          Additionally, the New Jersey Department of Banking and Insurance
  approved a general ProAssurance Casualty policy form containing the arbitration
  language at issue here. This approved policy language, including the arbitration
  agreement, was incorporated into Plaintiffs’ policies.
                                            4
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  within each policy. 4     Moreover, Plaintiffs admitted they were not without

  alternatives. See Opp. Brief, p. 15. At the time they entered their respective

  policies, each time they renewed their respective policies, and when they elected to

  purchase the tail coverage at issue, Plaintiffs had choices outside of entering into

  an agreement with ProAssurance Casualty.5           Finally, aside from conclusory

  statements, Plaintiffs have failed to establish that their ProAssurance Casualty

  policies were presented on a take-it-or-leave-it basis.

        Plaintiffs also attempt to twist reality with their argument that economic

  issues motivated their purchase of the tail coverage at issue and that this motivation

  should void the arbitration agreements. Opp. Brief, p. 15. In truth, the arbitration

  provisions had been agreed to and in place for many years prior to the Plaintiffs’

  decision to purchase tail coverage from ProAssurance Casualty. Further, as noted,

  purchasing tail coverage from ProAssurance Casualty was not Plaintiffs’ exclusive

  coverage option.



        4
           It should be noted the arbitration provisions at issue were contained in the
  original policies Plaintiffs’ purchased and remained in those policies with each
  annual renewal and tail coverage purchase. At no point prior to the filing of
  Plaintiffs’ Opposition in this matter did Plaintiffs question the scope, validity, or
  fairness of the arbitration provisions at issue.
        5
          ProAssurance Casualty has never had a monopoly on the New Jersey
  medical malpractice insurance market. Moreover, the purpose of Plaintiffs’ tail
  coverage could have easily been fulfilled through the purchase of prior acts or
  “nose” coverage with a new policy from a different insurance company.
                                            5
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        Based on the foregoing, it is clear that Plaintiffs’ unconscionability claims

  find no support in their allegations of unequal bargaining position and economic

  compulsion.

        C.      PLAINTIFFS WAIVED THEIR RIGHTS TO PURSUE THEIR CFA CLAIMS
                IN COURT.

        Plaintiffs’ CFA claims are rooted in allegations that “defendants engaged in

  unconscionable commercial practice which included deception, fraud, false

  pretense, false promise, and misrepresentation.” Compl. ¶48. Plaintiffs further

  allege that “[d]efendants knowingly concealed and suppressed and omitted to state

  that they were charging plaintiffs for more costly ERP endorsements. . . .” Id. ¶49.

  The unambiguous language of the arbitration provisions Plaintiffs agreed to is

  sufficiently broad enough to encompass their fraud claims under the CFA:

        Any dispute, claim or controversy arising out of, relating to or in
        connection with this policy, its subject matter or its negotiation, as to
        the existence, validity, interpretation, performance, non-performance,
        enforcement, operation, breach of contract, breach of warrant,
        continuance or termination thereof or any claim alleging fraud,
        deceit, or suppression of any material fact or breach of fiduciary duty
        shall be submitted to binding arbitration. . . . The provisions hereof
        shall be a complete defense to any suit, action, or proceeding in any
        federal, state or local court or before any administrative tribunal with
        respect to any dispute, claim, or controversy arising under this policy.

  Dinger Decl. Exhs. A, B, and C at ¶ XIII (emphasis added).

        Plaintiffs cite Garfinkel v. Morristown Obstetrics & Gynocology Assoc., 773

  A.2d 665, 670 (N.J. 2001) for the proposition that “waiver of statutory rights

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  provisions in arbitration agreements must be clear and explicit.” Opp. Brief, p. 17.

  Importantly, however, the New Jersey Supreme Court also held in Garfinkel that a

  party is not required to “list every imaginable statute by name to effectuate a

  knowing and voluntary waiver of rights.” Id. at 672. Indeed, the essential question

  that the Court must decided is whether the arbitration agreements Plaintiffs signed

  are specific enough to inform Plaintiffs that they are waiving their right to litigate a

  CFA claim in court. See, e.g., Gras v. Assoc. First Cap. Corp., 786 A.2d 886, 894

  (N.J.    Super. Ct. App. Div. 2001) (finding arbitration agreements signed by

  plaintiffs are specific enough to inform plaintiffs that they were waiving their

  statutory rights to litigation in a court). Plaintiffs’ arbitration agreements are

  undeniably broad enough to include their CFA claims and clear enough to put

  Plaintiffs on notice that, by signing the agreements, they were waiving their rights

  to litigate any CFA claims in court.

          The arbitration language the Plaintiffs agreed to unquestionably and

  unambiguously places Plaintiffs on notice that the asserted fraud claims brought

  under the CFA are subject to arbitration. Indeed, the provisions explicitly cover

  “any claim alleging fraud, deceit, or suppression.” Dinger Decl. Exhs. A, B, and C

  at ¶ XIII. In contrast, the cases Plaintiffs rely on address either non-specific or




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  conflicting and ambiguous arbitration provisions. 6 They do not discuss arbitration

  agreements that include the breadth and detail found in Plaintiffs’ agreements with

  ProAssurance Casualty. 7

        In addition to identifying a litany of potential claims subject to arbitration,

  Plaintiffs’ arbitration agreements also explicitly state that the arbitration agreement

  is a “complete defense” to any suit, action, or proceeding initiated before any court

  or administrative tribunal. For these sophisticated, corporate Plaintiffs to now


        6
           See Garfinkel, 773 A.2d at 668 (“[A]ny controversy or claim arising out of,
  or relating to, this Agreement or the breach thereof, shall be settled by
  arbitration”); Rockel v. Cherry Hill Dodge, 847 A.2d 621 (N.J. 2004)(including
  agreement containing two conflicting, ambiguous arbitration clauses covering “any
  controversy or claim arising out of or relating to this Agreement” and “any claim
  or dispute, whether in contract, tort or otherwise . . . which arise out of or relate to
  this contract or any resulting transaction or relationship. . . .”); Kuhn v. Terminix
  Int’l Co., No. A-1518-07T3, 2008 Unpub. LEXIS 2005 (N.J. Super. Ct. App. Div.
  May 9, 2008)(“The Purchaser and Terminix agree that any controversy or claim
  between them arising out of or relating to the interpretation, performance, or
  breach of any provision of this agreement shall be settled exclusively by
  arbitration.”)
        7
           Plaintiffs contend that the absence of a specific reference to the CFA
  makes the arbitration agreements inapplicable to their CFA claims. Opp. Brief, p.
  22. As noted above, however, no such requirement exists. Instead, the arbitration
  provision simply needs be clear, unambiguous, and “sufficiently broad” to
  reasonably encompass Plaintiffs’ CFA claims. Martindale v. Sandvik, Inc., 800
  A.2d 872, 883 (N.J. 2002) (finding an arbitration provision that did not specifically
  reference a waiver of statutory rights and was arguably less inclusive than
  Plaintiffs’ provisions was enforceable under the “spirit” of Garfinkel); see also
  Gras, 786 A.2d 886 (compelling arbitration in instance where arbitration
  agreement did not name each state and federal statute the agreement covered, but
  employed language reflecting that the plaintiff, in fact, knew that other options,
  such as judicial remedies, existed).
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  claim that they did not realize they were waiving their right to a jury on claims,

  such as their CFA claims, is disingenuous.          See Opp. Brief, p. 22 (“[T]he

  agreement provides no explanation, discussion or notice regarding the

  consequences of agreeing to arbitrate or what rights . . . are being waived.”).

         When consideration is given to the language of the arbitration provisions,

  the sophistication of the Plaintiffs, and the relevant case law, it is clear the

  arbitration agreements are broad enough to encompass Plaintiffs’ CFA claims and

  that Plaintiffs were on notice of such coverage.

        D.     PLAINTIFFS HAVE NOT ESTABLISHED THAT THE COST OF
               ARBITRATION RENDERS THEIR ARBITRATION PROVISIONS
               UNCONSCIONABLE.

        As Plaintiffs noted, to establish arbitration costs are so high as to prevent

  Plaintiffs from effectively vindicating their rights in arbitration, Plaintiffs must

  present evidence to (1) show the projected fees that would apply, and (2) show

  their inability to pay those costs. Opp. Brief, pp. 22-23 (citing Parilla v. IAP

  Worldwide Servs., 368 F.3d 269, 283-285 (3d Cir. 2004)). Stated differently, “a

  party seeking to declare arbitration costs to be unenforceable must offer some

  credible and substantiated evidence of that party’s financial situation as well as the

  specific costs of arbitration.” Adamson v. Foulke Management Corp., 2009 WL

  5174642 at * 7 (D.N.J. Dec. 18, 2009). Plaintiffs fail to support either factor.




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        The Court’s consideration of Plaintiffs’ cost argument should be brief

  because they have failed to offer any evidence—no bank statements, tax returns,

  affidavits, or other credible evidence—demonstrating their financial situation and

  inability to pay the alleged arbitration costs. This is not surprising considering

  Plaintiffs are New Jersey corporations in the business of providing sophisticated

  medical services and there is no indication that their businesses are anything but

  profitable. See Blair v. Scott Specialty Gases, 283 F.3d 595, 607 (3d Cir. 2002)

  (finding that individual who have testified to having six figure income cannot

  claim that arbitration costs are “prohibitively expensive”). As such, any arguments

  regarding arbitration costs should be ignored. Litigation is not free either.

  II.   PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED

        A.     THE COMPLAINT DOES NOT ALLEGE FACTS DEMONSTRATING THAT
               PLAINTIFFS HAVE STANDING TO ASSERT CLAIMS AGAINST
               PROASSURANCE CORPORATION AND PROASSURANCE INDEMNITY

        Defendants move to dismiss Plaintiffs’ claims against ProAssurance

  Corporation and ProAssurance Indemnity for lack of standing because the

  Complaint fails to allege facts demonstrating a causal connection between

  Plaintiffs’ alleged injuries and the conduct of either ProAssurance Corporation or

  ProAssurance Indemnity.      As Defendants demonstrated in their moving brief,

  Plaintiffs’ claims arise from their insurance policies with ProAssurance Casualty -

  not from any relationship or dealings with ProAssurance Corporation and

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  ProAssurance Indemnity. Moving Brief, pp. 1-5, 15-17 (citing Compl. ¶¶22-32,

  34-40, 42-46).

        Faced with dismissal of the Complaint for lack of standing, Plaintiffs now

  attempt to reinvent their claims by misrepresenting the allegations in the Complaint

  and arguing that they have standing because all of the Defendants “engaged in a

  concerted scheme to wrongfully overcharge former policyholders for ERPs.” Opp.

  Brief, pp. 23-24. 8   Plaintiffs cite ¶¶15-18 of the Complaint to support this

  argument, but those paragraphs simply: (i) identify where each Defendant is

  located and incorporated; (ii) describe the type of business each Defendant is

  engaged in; and (iii) describe each Defendant’s corporate structure and relationship

  to one another. Nowhere does the Complaint, or even Plaintiffs’ brief, allege facts

  suggesting any concerted action between the Defendants, much less the time,

  place, or terms of any such purported “scheme.” Without such specific allegations,

  the Complaint fails as a matter of law. See, e.g., Bell Atlantic Corp v. Twombly,

  127 S.Ct. 1955, 1971 n.10 (2007) (stating that a complaint that “mention[s] no

  specific time, place, or person involved in the alleged conspiracies” and




        8
           A Court may not accept allegations in opposition briefs as true because
  “Plaintiffs cannot use their brief to amend the Complaint.” Carmen v. Metrocities
  Mortg., 2010 WL 421115, *7 (D.N.J. Feb. 1, 2010).

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  “furnish[es] no clue as to . . . [who] supposedly agreed, or when and where the

  illicit agreement took place” does not comply with FED. R. CIV. P. 8). 9

        Plaintiffs also argue that they have standing because the Defendants are

  “juridically linked.” Opp. Brief, pp. 24-26. This argument, however, also fails as

  a matter of law because “[t]he juridical link doctrine has no bearing on standing;

  rather, its place lies in a Rule 23 [class certification] analysis.” In re Franklin Mut.

  Funds Fee Litigation, 388 F.Supp.2d 451, 462 (D.N.J. 2005). Not surprisingly, the

  two cases Plaintiffs cite to support their arguments dealt with class certification,

  not motions to dismiss. Opp. Brief, pp. 24-25 (citing Wu v. MAMSI Life & Insur.

  Co., 256 F.R.D. 158 (D. Md. 2008) and Marchwinski v. Oliver Tyrone Corp., 81

  F.R.D. 487 (W.D. Pa. 1979)).

        Finally, Plaintiffs simply ignore Defendants’ argument that the Complaint

  fails to allege sufficient factual allegations against ProAssurance Corporation and

  ProAssurance Indemnity to sustain any claims against these entities.                 As

        9
           Plaintiffs rely on Johnson v. Geico, 516 F.Supp.2d 351 (D. Del. 2007) to
  argue that “dismissal for lack of standing is not warranted at this stage of the case
  because discovery regarding the relationship between the Defendants as well as
  their concerted actions related to the scheme to overcharge former policy holders
  for ERP premiums is necessary.” Opp. Brief pp. 23-24. Johnson is inapplicable,
  however, because: (i) as set forth supra, the Complaint does not allege any
  “concerted actions” or “scheme” between Defendants; and (ii) in Johnson “all
  three companies [we]re named on the correspondence to Plaintiffs concerning their
  PIP claims” and the plaintiffs did not know which defendant company was actually
  handling their PIP claims (Johnson, 516 F.Supp.2d. at 356). Here, it is undisputed
  that Plaintiffs dealt solely with ProAssurance Casualty.
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  Defendants demonstrated in their moving brief, the Complaint improperly lumps

  all three Defendants together and makes general conclusory allegations of

  wrongdoing leaving Defendants to guess what role, if any, ProAssurance

  Corporation and ProAssurance Indemnity played in this case. Moving Brief, pp.

  17-18. As a matter of law, this pleading deficiency warrants dismissal of all claims

  against ProAssurance Corporation and ProAssurance Indemnity.

        B.     MERCER-BUCKS’ CLAIMS ARE TIME-BARRED

        Mercer-Bucks concedes that “[a] cause of action accrues when the plaintiff

  becomes aware of an injury and a causal relationship between the injury and an

  actor, but need not know that the conduct is tortious or legally wrongful.” Opp.

  Brief p. 30 (internal quotation omitted)(emphasis added).          Mercer-Bucks also

  admits that on October 30, 2003, ProAssurance Casualty sent Mercer-Bucks letters

  “indicating pricing that would be charged when and if the tail was purchased”,

  which was allegedly too high. Opp. Brief, pp. 32-34 and Ex. F; see also Compl.

  ¶30. Thus, Mercer-Bucks was aware of the alleged overcharge on October 30,

  2003, and its claims are only timely if the discovery rule applies.

        “Under the discovery rule . . . the limitations period does not commence

  until the injured party actually discovers or should have discovered through

  reasonable diligence the fact essential to the cause of action.” R.A.C. v. P.J.S., Jr.,

  927 A.2d 97, 106 (N.J. 2007). The discovery rule is inapplicable here, however,

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  because neither the Complaint—nor Plaintiffs’ brief—state any facts that were

  hidden from, or not accessible to, Mercer-Bucks that it needed to determine

  whether it was overcharged and therefore had a cause of action. The fact that it

  chose to ignore these facts for six years does not toll the statute of limitations.

        Mercer-Bucks therefore desperately argues that “[n]othing in the [October

  30, 2003] letter required any action, analysis or payment before January 30, 2004”

  (Opp. Brief p. 33 (emphasis added)), as if that somehow obviates the fact that it

  knew on October 30, 2003 that it would be overcharged for the ERP endorsement.

  That Mercer-Bucks was not “required” to file a lawsuit on October 30, 2003, or

  January 30, 2004 for that matter, has no bearing on the fact that Mercer-Bucks was

  aware, or should have been aware, of its alleged injury at that time and therefore

  the six-year statute of limitations began to run on that day. Accordingly, Mercer-

  Bucks’ claims are time-barred and should be dismissed.

        C.     PLAINTIFFS TACITLY ADMIT THAT PASCACK WAS CHARGED THE
               CORRECT PREMIUM

        Defendants demonstrated in their Moving Brief that Pascack was not

  overcharged because: (i) pursuant to its Policy with ProAssurance Casualty, the

  cost of its ERP endorsement was to be computed “in accordance with the rules,

  rates, rating plan and premiums applicable on the effective date of the

  endorsement”; (ii) the effective date of its ERP endorsement was June 30, 2004;

  and (iii) it was charged the rate in effect on June 30, 2004. Moving Brief, pp. 14-
                                             14
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  15. Pascack responds that it should have been charged the rates in effect in 2003

  when Pascack renewed its policy even though it was not the “premium applicable

  on the effective date of the endorsement,” which it concedes is the manner in

  which the premium is calculated. Opp. Brief pp. 28-29. Not only is this illogical,

  but it contradicts the other Plaintiffs, who claim they have a cause of action

  because they were not charged the rate in effect on the effective date of their ERP

  endorsements. Compl. ¶¶32-33, 46-47. Accordingly, Pascack’s claims should be

  dismissed. 10

  III.   CONCLUSION

         For all the foregoing reasons and those contained in the Moving Brief, we

  respectfully request that the Court either compel arbitration or, in the alternative,

  dismiss this case.



  Dated: April 12, 2010

                                  By: /s/ Michael Dinger
                                      Michael Dinger




         10
           Although Defendants maintain that Emergency Physicians was charged
  the correct premium, Defendants withdraw that argument rather than engage in an
  evidentiary dispute at the pleadings stage.
                                           15
